Case 1:02-cv-OlOlO-STA Document 33 Filed 08/12/05 Page 1 of 2 Page|D 39

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iN THE UNITED sTATEs olsTRJCT CoURT 0,. \
FoR THE WESTERN DisTRlCT oF TENNESSEE " JU@ O_C
EASTERN t)tvisioN /2 -

United States of America,

vs. 02-1010-An

 

Twenty-Eight Thousand Two Hundred
Seventy Dollars ($28,2'/`0.00) in
U.S. Currency,

 

ORDER VACATING WRIT OF HABEAS CORPUS AD TESTIFICANDUM

 

Upon motion of the United States, the Writ of habeas corpus ad testificandum for Sydney
Thomas Fondren to testify at trial in the above-styled case on August 15, 2005, which the Court
entered On August 8, 2005 on the government’s application, is VACATED.

IT ls so 0RDERED, this Q<'_T§ay of , 2005.

§§r/‘z"m dated

S. THOMAS ANDERSON
United States Magistrate Judge

Approved:
TERRELL. L. HARRIS

UnitedEStates 131ng
By: /j / j

STOPHER E./COTTEN
ssistant United States Attorney

This document entered on the docket sheet in comp\ianca
with Ftule 58 and.'or_?g (a) FRCP on

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UNITD S"TE'ASDISTRIC COURT - WE"RNTE DISITRCT OF TENNESSEE

   
   

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This notice confirms a copy ofthe document docketed as number 33 in
case 1:02-CV-010]0 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Mark L. Agee
AGEE LAW FIRM
111 W. Eaton St.
Trenton, TN 38382

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable S. Anderson
US DISTRICT COURT

